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                                              INSTRUCTIONS TO JURORS
       The attached questionnaire must be answered by you. The answers will assist the judge
and lawyers in selecting a jury. Answer all the questions to the best of your ability. There are no
right or wrong answers. To answer correctly you must answer honestly.

      We need your help so that we can select a fair and impartial jury in this case. Only the
judge and lawyers will know your name. Do not assume anything from these questions. The fact
they are being asked does not necessarily have anything to do with the evidence that you will
hear.

      The judge and lawyers know that every person has beliefs and prejudices concerning many
things. You should answer with your true feelings, whatever they may be. Do not assume that
any of your answers will qualify you or disqualify you from serving on this jury.

      Please fully answer each question to the best of your ability. Write or print clearly. You
must not ask anyone for help. Do the best you can.

       If you cannot answer a question because you do not understand it, write "Do Not
Understand" in the margin next to the question. If you cannot answer because you do not know,
write "Do Not Know" in the margin next to the question. If you want to explain your answer do so
briefly in the margin next to the question. If for any reason you do not want to answer any of the
questions asked, please write the word "PRIVATE" next to the question and we will take this
matter up with you privately.

       We are all certain that you understand the importance of juries to our American system of
justice. We are confident that you will not try to avoid your duty as a citizen to serve if it is at all
possible to do so. Without your help our courts cannot operate properly under the Constitution.

      An Explanation Sheet is provided for you at the end of the questionnaire to answer
questions more fully. Rather than leaving out information, please turn to the end and put your
answers on the explanation sheet provided.

      Because your answers are part of the jury selection process and become part of the
records of this court, your answers must be truthful and under penalty of perjury.




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                                         JUROR QUESTIONNAIRE                              Juror#: ---
1.       Full Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Gender:                □ Male   □ Female    Age: _ _ __
2.       What is your r a c e ? - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
3.       City of Residence: _ _ _ _ _ _ _ _ _ Years There: _____ Birth Place: _ _ _ _ _ __
4.       What is your zip code? _ _ _ _ __
5.       Who is your employer and what is your job (if unemployed/retired, what and where was your last job)?




6.       For how many years have/did you worked there? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
7.       Describe your job duties or responsibilities: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




8.       What jobs have you held in the past? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




9.       Have you ever been laid off from a job?   □ YES    □ NO

         If YES, how long ago?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
10.      Have you or your immediate family ever been affected by any type of layoff or downsizing?
         DYES         □ NO

         If YES, please explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




11.      Have you ever been responsible for hiring, firing, or supervising employees?   □ YES    □ NO

12.      How far did you go in school [if college or post-college, name the school(s) and any degrees received]?




13.      Current marital status: _ _ _ _ _ _ If married, for how long? ____ How many times? _ _
14.      Spouse's Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ Spouse's Birth Place: _ _ _ _ _ _ _ __
15.      Who is your spouse/partner's employer and what is this person's job (if unemployed/retired, what and
         where was this person's last job)? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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16.      What jobs has this person held in the past? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


17.      Please list the sex, age, and occupation for each of your children and step-children:




18.      List all governments and government agencies (do not include law enforcement or military) that you and
         your relatives have worked for and tell us who held this job, what governmental unit, and the type of work:




19.      Have you, any family members, or friends ever been employed by or applied for a job with any law
         enforcement agency?                       □ YES    □ NO

         If YES:
         a) \A/ere you, your family member, or friend hired? ____________________
         b) What job did you, your family member, or friend apply for and/or have? _ _ _ _ _ _ _ _ __


         c) When did you, your family member, or friend apply for and/or have this job? _ _ _ _ _ _ _ __


         d) Do you, your family member, or friend still hold this job today?       □ YES    □ NO

         If NO, when and how did that employment end?


20.      Have you or has anyone close to you ever had a negative experience dealing with law enforcement officers
         at the local or federal level (such as the police, FBI, INS, IRS, etc)?   □ YES    □ NO

         If YES, please describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         If YES, what is your opinion toward that agency now? __________________


21.      Have you or has anyone close to you ever had a negative experience dealing with the United States
         government or any governmental agency?            □ YES      □ NO

         If YES, please describe: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         If YES, what is your opinion toward that institution or agency now?
                                                                                   -------------
22.      Have you or any family members ever owned your (their) own business?              □ YES   □ NO




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         If YES, please tell us what type of business and is the business still open? ___________




23.      Have you ever worked for a large corporation?      □ YES      □ NO

         If YES:
         a) What corporation(s) did you work for and when?




         b) Are (were) you satisfied with your work at the corporation?       □ YES    □ NO

         c) Have you ever had a bad experience with a large corporation?           □ YES   □ NO

         If YES, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




24.      What are your opinions about the compensation that executives of large corporations receive?




25.      Have you had any education, training or experience in: accounting, bookkeeping, business, business
         management, finance, corporate finance, investment banking, law (criminal and/or civil), ethics, law
         enforcement, marketing, or stock trading?     □ YES        □ NO

         If YES, please describe your education training or experience:




26.      Do you know anyone who works for the FBI, the United States Attorney's Office, the United States
         Department of Justice, or in any District Attorney's Office?      □ YES    □ NO

         If YES, whom do you know and what is the nature of your relationship with that person? _ _ _ __




27.      Have you ever had any dealings with any person in the FBI, the United States Attorney's Office, the
         United States Department of Justice, or in any District Attorney's Office?        □ YES   □ NO

         If YES, describe the nature of those dealings and when they occurred. ____________




28.      Do you know (on a personal, professional, or casual basis) any attorneys or judges?         □ YES   □ NO

         If YES:

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         a) Please identify whom you know and what his or her job is. ________________


         b) How do you know this person (these people)? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         c) What is the nature of your relationship with this person (these people)?




29.      Have you ever sued or been sued?          □ YES   □ NO

         If YES, please tell us if you were the plaintiff (the party suing) or the defendant (the party being sued), the
         type of case, and the outcome:




30.      Have you served as a juror for a:
         a) □ Criminal case_ times □ Civil case_ times □ Grand Jury_ times □ Never served
         b) What type(s) of criminal case(s)? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         c) What was the verdict(s)? _ __
         dj Were you ever the foreperson?          □ YES   □ NO

         e) What did you like or dislike about serving on a jury? __________________


31.      Have you ever filed a criminal complaint or appeared as a witness in any criminal case?      □ YES □ NO      If
         YES, please explain (including the nature of the case, and whether you appeared as a witness for the
         prosecution or for the defense).




32.      Have you, any family members, or friends ever worked for the Arthur Andersen accounting firm?
          □ YES      □ NO

         If YES:
         a) Who worked for Arthur Andersen? _________________________


         b) When and where did they work for Arthur Andersen? __________________


         c) Describe the nature of their work for Arthur Andersen. _________________


33.      Have you, any family members, or friends ever worked for or applied for work with Enron Corporation or
         any Enron subsidiaries or partnerships?       □ YES      □ NO

         If YES:


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         a) Who worked for or applied for work with Enron or its subsidiaries? _____________


         b) Were you or any family members or friends hired by Enron or its subsidiaries? _______


         c) When did you or any family members or friends hold/apply for this job? _ _ _ _ _ _ _ _ __


         d) When and how did this employment terminate? ____________________




34.      Have you, any family members, or friends ever done business with Enron Corporation or any Enron
         subsidiaries or partnerships?                □ YES    □ NO

         If YES, please describe the nature of that business, when it occurred, and who was involved.




35.      Have you, any family members, or friends ever owned stock in Enron Corporation or any Enron
         subsidiaries or partnerships?             □ YES   □ NO

         If YES:
         a) Approximately how many shares did you, your family member, or friend own? ________


         b) When did you, your family member, or friend purchase the shares? ____________


         c) Did you, your family member, or friend ever sell the shares? If so, please identify when you sold, for
         what reason, and whether you made or lost money on the sale. _______________




36.      Do you know anyone who lost their job or lost money in an investment, an IRA, 401 K, or other retirement
         plan as a result of the bankruptcy of Enron?             □ YES    □ NO

         If YES, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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37.      Have you, any family members, or friends ever been employed by a company that has been affected by the
         Enron bankruptcy or the layoffs of Enron employees?       □ YES   □ NO

         If YES, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




38.      Do you know anyone, whom you have not mentioned above, who has been negatively affected or hurt in
         any way by what happened at Enron?        □ YES   □ NO

         If YES, please tell us the name of the person and how they were affected. ___________




39.      Do you have an opinion about the cause of the collapse of Enron?    □ YES   □ NO

         a) If YES, what is your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         b) On what do you base your opinion? ________________________




40.      What do you think about the U.S. Government's investigation into the collapse of Enron?




41.      Have you heard or read about any of the Enron cases?      □ YES   □ NO

         If YES, please tell us the name of all sources from which you have heard or read about the Enron cases
         (such as the Houston Chronicle, Time Magazine, Channel 13 news, O'Reilly Factor, Rush Limbaugh




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          radio show, talking with friends, family or co-workers, internet news sources, biogs, etc.)? _ _ __




42.       Have you read any books or seen any movies about Enron?          □ YES      □ NO

          If YES, please describe the book(s) or movie(s) and tell us what you thought of that book or movie:




43.       Have you, your business, any family member, or your employer ever filed for bankruptcy?
          □ YES      □ NO      If YES, please tell us who filed and what happened. _ _ _ _ _ _ _ _ _ _ __




44.      Who makes the financial decisions in your household? __________________


45.       Do you currently, or have you ever, owned stocks (including mutual funds)?         □ YES    □ NO

46.       Have you or your spouse lost a significant amount of money in the stock market in the past ten (10) years?
           □ YES       □ NO      If YES, please explain what happened. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




47.      Which of the following words would describe you? Please check ( ✓) all that apply:
           □ Assertive          □ Analytical       □ Business-minded   □ Cautious            □ Compulsive

           □ Creative           □ Decisive         □ Detailed          □ Dedicated           □ Entrepreneur

           □ Impulsive          □ Innovative       □ Judgmental        □ Law &Order          □ Leader

           □ Logical            □ Loyal            □ Opinionated       □ Outspoken           □ Practical

           □ Private            □ Problem solver   □ Pro-business      □ Pro-worker          □ Pro-Government

           □ Religious          □ Skeptical        □ Snap-decisions    □ Strict              □ Technical

           □ Thoughtful         □ Trusting         □ Visual            □ Other:

48.      Please list (3) people that you admire the most

         (1) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         (2) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         (3) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
49.      Please list (3) people that you admire the /east:


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         (1) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         (2) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
         (3) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
50.      What do you enjoy doing in your spare time? ______________________


51.      Please list your (3) favorite television shows:

         (1) - - - - - - - - - - - - - - - - - - - - - - - - - -
         (2) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         (3) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

52.      What courtroom or law-related television shows do you watch? _______________


53.      What sites on the Internet do you regularly visit?


54.      What newspapers, magazines, or trade publications do you read? ______________




55.      Which financial newspapers or magazines (such as the Wall Street Journal, Business Week, Barrons,
         Economist, Forbes, Fortune, Money Magazine, etc.), if any, do you read, and what financial programs, if
         any, do you watch on television? __________________________


56.      Which one source do you get most of your news from? __________________


57.      Please list all unions or civic, social, political, professional, and religious groups or organizations to which
         you or your spouse/partner belong: __________________________




58.      Have you held leadership roles in any of these organizations?              □ YES    □ NO

         If YES, what was the role? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
59.      Please tell us about any volunteer work you do (now or past): ________________


60.      On social issues, are you:            □ Very conservative □ Conservative □ Moderate □ Liberal □ Very liberal

61.      On economic issues are you: □ Very conservative □ Conservative □ Moderate □ Liberal □ Very liberal
62.      Political party preference:           □ Democrat    □ Independent    □ Republican    □ Other: _ _ _ _ _ __

63.      Other than a traffic ticket, have you ever been arrested for, charged with, or convicted of a crime?
         □ YES       □ NO




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         If YES:
         a) Describe the nature of the charge. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         b) Did this charge result in a conviction? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         c) If so, when did the conviction occur, and was it the result of a trial verdict or guilty plea? _ _ __


         d) Do you feel you were treated fairly? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


64.      Other than a traffic ticket, have any of your family members ever been arrested for, charged with, or
         convicted of a crime?                       □ YES   □ NO

         If YES:
         a) What family member? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         b) Describe the nature of the charge. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


         c) Did this charge result in a conviction? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         d) If so, when did the conviction occur, and was it the result of a trial verdict or guilty plea? _ _ __


         e) Do you feel your family member was treated fairly? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


65.      Which best describes your total yearly household income?
          □ Under $25,000          □ $25 - $50,000   □ $50 - $100,000   D $100 - $250,000   D More than $250,000
66.      Religious Preference: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
67.      Are you angry about what happened with Enron?              DYES   □ NO

         If YES, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




68.      Of all the things you have seen, heard, or read about Enron, what stands out in your mind? _ _ __




69.      Do you, any family member, or friend know or have any connection with any of the defendants or their
         families in this case?
         a) Kenneth Lay                              DYES D NO
         b) Jeffrey Skilling                         DYES D NO
         c) Richard Causey                           DYES D NO
         If you have answered YES as to any of the defendants, please explain. _ _ _ _ _ _ _ _ _ __


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70.       Do you have an opinion about any of the following people?
          a) Kenneth Lay (former Chairman and Chief Executive Officer of Enron)          □ YES   □ NO

               If YES, what is your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




               On what do you base your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          b) Jeffrey Skilling (former Chief Operating Officer, President, Chief Executive Officer of Enron)
               □ YES      □ NO

              If YES, what is your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




               On what do you base your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          c) Richard Causey (former Chief Accounting Officer of Enron)           □ YES   □ NO

               If YES, what is your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




              On what do you base your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


          d) Sherron Watkins (former employee of Enron)           □ YES   □ NO

              If YES, what is your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




              On what do you base your opinion? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



71.       Based on anything you have heard, read, or been told do you have any opinion about the guilt or
         innocence of any of the following people:
         a) Richard Causey                         □ YES   □ NO



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          b) Jeffrey Skilling                      □ YES   □ NO

          c) Kenneth Lay                           DYES    □ NO


         If you have answered YES as to any of these people, please explain. _ _ _ _ _ _ _ _ _ _ __




72.      The Judge in this case will instruct you that the indictment or formal charge against a defendant is not
         evidence of guilt. Indeed, the defendant is presumed by the law to be innocent. The law does not
         require a defendant to prove his innocence or produce any evidence at all, and no inference whatever
          may be drawn from the election of a defendant not to testify. The government has the burden of
         proving the defendant guilty beyond a reasonable doubt, and if it fails to do so, you must acquit the
         defendant. While the government's burden of proof is a strict or heavy burden, it is not necessary that
         the defendant's guilt be proved beyond all possible doubt. It is only required that the government's
         proof exclude any "reasonable doubt" concerning the defendant's guilt. A "reasonable doubt" is a
         doubt based upon reason and common sense after careful and impartial consideration of all the
         evidence in the case. Proof beyond a reasonable doubt, therefore, is proof of such a convincing
         character that you would be willing to rely and act upon it without hesitation in the most important of
         your own affairs.
         Notwithstanding the instructions that the judge will give you at the trial, would any opinion you may have
         formed regarding Enron or any of the defendants prevent you from impartially considering the evidence
         presented during the trial of these three defendants?
         a) Kenneth Lay                            □ YES   □ NO       □ UNSURE

         b) Jeffrey Skilling                       □ YES   □ NO       □ UNSURE

         c) Richard Causey                         □ YES   □ NO       □ UNSURE

         If YES or UNSURE as to any of these people, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ __




73.      Is there anything else you feel is important for the court to know about you? _ _ _ _ _ _ _ __




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74.        Would you like to serve on this jury?     □ YES     □ NO     □ DON'T KNOW

           Please explain your answer.




75.        Do you have a physical or other disability that would keep you from serving as a juror?
           □ YES     □ NO      If YES, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




76.        This trial will begin on January 17, 2006, and may last as long as 6 months. You may rely upon the jury
           being in session Monday through Thursday from 8:30 am until 5:00 pm. The court will not be in session
           during federal holidays. A trial of this length is a hardship on virtually every juror. Would serving as a juror
           in this case cause such a severe hardship that it would affect your ability to be a fair and impartial juror?
           LJ YES    u NO
           If YES, please explain. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                           OATH
           I hereby swear or affirm that all of my answers in this questionnaire are true and correct to the best of my
ability.




                                                          Juror's Signature                                          Date




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